Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 1 of 6   PageID
                                   #: 1876
Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 2 of 6   PageID
                                   #: 1877
Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 3 of 6   PageID
                                   #: 1878
Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 4 of 6   PageID
                                   #: 1879
Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 5 of 6   PageID
                                   #: 1880
Case 3:14-cr-00086-RLJ-CCS   Document 407 Filed 05/20/15   Page 6 of 6   PageID
                                   #: 1881
